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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

    UNITED STATES OF AMERICA,                           )
                                                        )
                                  Plaintiff,            )
                                                        )
                  v.                                    )       No. 1: 16-cv-00483-TWP-MJD
                                                        )
    $9,171.00 UNITED STATES CURRENCY,                   )
    $7,058.00 UNITED STATES CURRENCY,                   )
    ONE TAURUS 9MM HANDGUN,                             )
    SERIAL NUMBER TARI 5190,                            )
    ONE TAURUS HANDGUN,                                 )
    SERIAL NUMBER SVI74717,                             )
    ONE SMITH AND WESSON                                )
    .40 CALIBER REVOLVER,                               )
    SERIAL NUMBER FWK2365, and                          )
    ONE RUGER 9MM HANDGUN,                              )
    SERIAL NUMBER 32567336,                             )
                                                        )
                                  Defendants.           )

    NIKKI JONES, MONTE SCRUGGS, BRANDY                  )
    SCURLOCK, and CHRISTOPHER GLASS,                    )
                                                        )
                                  Claimants.            )

                            DECLARATION OF TIMOTHY L. BATES

           I, Timothy L. Bates, hereby declare and state as follows:

           1.     I am a Special Agent with the Federal Bureau oflnvestigation (FBI) and have

    served as an FBI Special Agent since 2009. I have been assigned to the Indianapolis Field Office

    since graduation from the FBI Academy. While working in the Indianapolis Field Office I have

    been assigned to the Gang and Criminal Enterprise Squad, which encompasses the FBI Safe

    Streets Gang Task Force ("SSGTF"). Prior to being assigned to SSGTF I was assigned to the

    Indianapolis Joint Terrorism Task Force ("JTTF"). Prior to my employment with the FBI, I was

    in infantry soldier in the U.S. Army. I have received training in the enforcement of laws


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    concerning controlled substances from the Federal Bureau of Investigation and the Indianapolis

    Metropolitan Police Department. I have testified in judicial proceedings and prosecutions for

    violations of firearms and controlled substances laws. I have participated in investigations

    involving the manufacturing, trafficking, and distribution of illegal drugs, to include but not

    limited to the debriefing of defendants, witnesses, informants, and others whom have knowledge

    of drug trafficking and of the laundering and concealing of proceeds from drug trafficking. I

    have received specialized training in the utilization of investigative techniques, and have also

    received specialized training regarding the investigation of criminal gangs and other criminal

    enterprises.

            2.     In July 2015 , the FBI Safe Streets Gang Task Force had an ongoing investigation

    concerning the activities of the "Block Burners" gang, which was conspiring to distribute

    controlled substances, including heroin, cocaine, and prescription narcotics, in central Indiana.

    On July 22, 2015 , $9,171.00 in United States Currency, one Taurus handgun, SN: SVI74717,

    and one Ruger 9mm handgun, SN: 32567336, were seized by the FBI from the residence of

    Monte Scruggs and Brandy Scurlock, 3666 Cedar Pine Place, Indianapolis.

            3.     As detailed in the affidavit supporting the search warrant for 3666 Cedar Pine

    Place, Scruggs was identified by law enforcement as being engaged in the trafficking of cocaine

    and heroin. (Warrant 1: 15-mj-495). Precision location information referenced in the warrant

    affidavit showed the nature and frequency of contact between Scruggs and William Dodd.

            4.     When the residential search warrant was executed, the $9,171.00 was found in

    and seized from six locations:

            •      $4,900.00 from the pocket of a blue vest, which appears to be an item of male

                   clothing, found in the master closet;



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         •     $2,000.00 from a paper bag inside a shoebox in the master closet;




         •     $940.00 from the floor to the left of the toilet in the master bath;

         •     $800.00 from a metal money bank in the master closet;

         •     $297.00 from the front right pocket of pants belonging to Scruggs that lay on

               the floor to the left of the bed in the master bedroom; and

         •     $234.00 from a plastic jug/bank next to the chest of drawers in the master



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                   bedroom.

    These locations were accessible to Scruggs, who was inside the residence and seen leaving the

    master bedroom when the search warrant was executed. These locations were also adapted to

    conceal the currency.

           5.      The Taurus SN SVI74717 was recovered from a safe underneath the bed in the

    master bedroom. The Ruger SN 32567336 was recovered from between the mattresses of the

    bed in the master bedroom.

           6.      I checked Indiana Department of Workforce Development records for Scruggs,

    and the records showed that Scruggs did not earn any documented income for 2015.

           7.      It is common practice for traffickers of controlled substances to conceal large

    sums of currency at their residence, currency that is the proceeds of controlled substance

    exchanges or is intended to be furnished in exchange for a controlled substance.

           8.      Individuals who engage in the unlawful distribution of controlled substances often

    maintain possession and control of firearms in an attempt to protect themselves, their supply of

    controlled substances, and their proceeds from controlled substance transactions.

           9.      Also as part of the Block Burners investigation, Michael Jones was identified by

    federal law enforcement as being engaged in the trafficking of cocaine, as shown by facts in the

    affidavit supporting the search warrant for Michael Jones' residence, 5936 North Rockingham

    Lane, McCordsville (Warrant 1: 15-mj-488), and the search warrant for 8326 East 34th Street,

    Indianapolis (Warrant 1:15-mj-489). The affidavits established probable cause that Michael

    Jones in 2015 routinely delivered cocaine out of 8326 East 34th Street.

           10.     On June 23, 2015, Michael Jones sold approximately one-half (1/2) gram of

    cocaine to CHS-6. Task Force Officer Nicholas Stewart and I witnessed the transaction. The



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    cocaine was recovered and CHS-6 was debriefed by law enforcement.

           11.    Nikki Jones was married to Michael Jones, and their residence was searched on

    July 22, 2015 pursuant to the search warrant in paragraph 9 above. One Taurus 9 mm handgun,

    SN: TAR1590, was recovered from under the mattress in the master bedroom, a place accessible

   to Michael Jones. The Taurus SN TAR1590 was loaded, which adapted it to use to facilitate

   drug trafficking activity.

           12.    Agents/task force officers also seized $7,058.00 in United States Currency from a

    Ford Flex, VIN: 2FMGK5C88EBD40439 and Indiana license #554EA, that was parked in the

   driveway of 5936 North Rockingham Lane. Narcotics detection dog "Gorky" alerted on the

   driver's side rear passenger door of the Ford Flex. The Ford Flex was then opened, and the

    $7,058.00 was found in rubber-banded bundles in the center console of the Ford Flex.




           13.     This location and presentation of the currency were indicative of drug trafficking

    because the drug detection canine had alerted to the vehicle, and the way in which the $7,058.00

    was folded and rubber-banded is consistent with how narcotics traffickers typically store their

    proceeds.

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           14.     Prior to the towing of the Ford Flex, Michael Jones' Indiana identification card,

    his credit cards, and his handicap vehicle controls were removed from the Ford Flex and given to

    him. Nikki Jones' wallet and other keys were removed from the Ford Flex and given to her.



           I hereby affirm under the penalties for perjury that the foregoing representations are true
    and accurate.




   ~Special Agent, FBI
                                     --                  May --21_, 2019




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